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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA

  SUSAN WRIGHT,                                        )
                                                       )
                         Plaintiff,                    )
                                                       )
  vs.                                                  )      Case No. 12-CV-113-GKF-FHM
                                                       )
  USAA CASUALTY INSURANCE                              )
  COMPANY,                                             )
                                                       )
                         Defendant.                    )


                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


         COME NOW the Plaintiff, Susan Wright, and Defendant, USAA Casualty Insurance

  Company, having fully resolved their claims against each other, hereby stipulate, pursuant to

  Fed. R. Civ. P. 41, to the dismissal of this action with prejudice, with each party to bear its own

  costs and attorney fees.



                                               /s Thomas J. Sullivent
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                                 CERTIFICATE OF SERVICE

  I HEREBY CERTIFY that on January 24, 2013, I electronically transmitted the attached
  document to the Clerk of the Court using the ECF System for filing and transmittal of a Notice of
  Electronic Filing to all ECF registrants.


                                                                     /Tom Sullivent_______
                                                                     Tom Sullivent
